Case 14-12683 Doc 70 Filed 08/14/19 Entered 08/14/19 09:52:39 Page 1 of 1

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF: CASE NUMBER:
WADE YBARZABAL 14-12683
SECTION: A
DEBTOR(S)
CHAPTER 7
LIQUIDATION

TRUSTEE'S INTERIM REPORT

I. Action to be taken to conclude administration of estate:

DEBTOR HAS INTEREST IN INHERITANCE. TRUSTEE IS LOOKING
INTO THE VALUE OF THIS.DERBES LAW FIRM EMPLOYED.

 

2. Total funds deposited into the Trustee's bank account:
$0.00
3. Amount and nature of bond:

 

$34,001.83, Blanket Bond Coverage

4, Expected date of filing a Trustee's Final Report:
12/31/2020

DATE: 08/13/2019
Respectfully submitted,

/s/ Michael Chiasson
Michael Chiasson

Chapter 7 Trustee

P.O. Box 1666
MandevilleLA 70470

(985) 674-9848
mikesfigment@bellsouth.net
